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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION
                                 (Electronically Filed)

DOUGLAS K. BOULTON, JR.                 )
                                        )
                                        )
                             Plaintiff, )
                                        )
v.                                      ) CIVIL ACTION NO. 5:18-CV-00001-TBR
                                        )
BAPTIST HEALTHCARE SYSTEM, INC.         )
d/b/a BAPTIST HEALTH PADUCAH
                                        )
                           Defendant. )


                             AGREED ORDER OF DISMISSAL


       Baptist Healthcare System, Inc. d/b/a Baptist Health Paducah and Douglas K. Boulton, by

counsel, hereby agree that all claims made, and all claims which could have been made in the

within action, are dismissed, with prejudice and with each party bearing its own costs and

attorney’s fees.

       SO ORDERED, this ____ day of ____________, 2018.




                                                                 January 30, 2018




FPDOCS 33703325.1
